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                                                              February 14, 2023
SHAWN E. COWLES
DEPUTY ATTORNEY GENERAL
FOR CIVIL LITIGATION
DIRECT DIAL: (512) 936-1378
                                                                                                                    Via: Electronic Mail

Ana Vieira Ayala
Assistant General Counsel
The University of Texas System
210 West Seventh Street
Austin, Texas 78701-2981

         Re:        Cause No. 5:23-cv-00007; Stewart v. Tex. Tech Univ. Health Sciences Ctr.,
                    et al.; In the U.S. District Court for the Northern District of Texas

Dear Ms. Ayala:

       Thank you for your patience as we consider your request for representation and for outside
counsel in the above-referenced case.

        Our Agency has long taken the position that the central arguments advanced by the plaintiffs
here are fundamentally correct: “using race and sex preferences in student admissions [is] a practice
that violates the clear and unequivocal text of Title VI and Title IX, as well as the Equal Protection
Clause of the Fourteenth Amendment.” Complaint at 3.

        What’s more, this issue is likely to be resolved in a pair of cases argued before the United
States Supreme Court in October 2022: Students for Fair Admissions v. Univ. of North Carolina, et
al. (No. 21-707) and Students for Fair Admissions v. President & Fellows of Harvard College (No.
20-1199). The Court will issue its decision and opinion sometime this spring. Our Agency has filed
amicus briefs in support of petitioners in these cases, which urge the Court to make clear that race-
based admissions are abhorrent to the Constitution and the concept of Equal Protection.

       For these reasons, we are choosing at this time to withhold a decision on your request for
representation and for outside counsel. We advise you that as of the date of this letter, we do not
represent you in this litigation, and there is no attorney-client relationship between your institution
and the Office of the Attorney General regarding this litigation unless and until we determine to
accept your request for representation.

       However, we understand that court deadlines are approaching. By this letter, you are
authorized to self-represent for the limited purpose of seeking an extension of time to file a


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responsive pleading, citing this letter as the basis for those requests. We would be happy to provide
examples of previously filed motions for extension of time from other cases upon request.

        Please contact me with any additional questions.

                                                    Sincerely,




                                                    Shawn E. Cowles
                                                    Deputy Attorney General
                                                    for Civil Litigation


SEC/rjr

cc:     Chris Hilton, Chief, General Litigation Division




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